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                   8
                   9                         UNITED STATES DISTRICT COURT
              10                           CENTRAL DISTRICT OF CALIFORNIA
              11                                     WESTERN DIVISION
              12
              13
                       JOHN MICHAEL “OZZY”
                       OSBOURNE, an individual, on his              CASE NO. 2:18-cv-02310
              14       own behalf and for all others similarly
              15       situated,                                    CLASS ACTION COMPLAINT
                                                                    TO ENJOIN VIOLATIONS
              16                       Plaintiff,                   OF THE SHERMAN ACT
              17                                                    AND FOR DECLARATORY RELIEF
                             v.
                                                                    (15 U.S.C. § 1 AND 28 U.S.C. § 2201)
              18       ANSCHUTZ ENTERTAINMENT
              19       GROUP, INC., a Colorado corporation,
                       AEG PRESENTS LLC, a Delaware
              20       limited liability company, L.A.
              21       ARENA COMPANY, LLC, a
                       Delaware limited liability company,
              22       ANSCO ARENA LTD., a U.K. limited
              23       company, and JOHN DOE 1
                       THROUGH 10, whose true names are
              24
                       unknown, inclusive,
              25
                                       Defendants.
              26
              27
              28
                                                                                      CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                         FOR INJUNCTIVE RELIEF
                                                                                      AND DECLARATORY RELIEF
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                   1          1.      John Michael “Ozzy” Osbourne (“Ozzy”), on his own behalf and for
                   2 all others similarly situated, alleges:
                   3                                    INTRODUCTION
                   4          2.      This case is brought under the antitrust laws of the United States to
                   5 enjoin        blatant, anticompetitive conduct—specifically, tying—by Anschutz
                   6 Entertainment Group, Inc. (“AEG”) and certain subsidiary and affiliated entities.
                   7 The tying arrangement at issue is so explicit and brazen that AEG has given it a
                   8 name:         the “Staples Center Commitment.”          Through the Staples Center
                   9 Commitment, AEG requires that artists and musicians cannot play London’s most
              10 essential large concert venue—the O2 Arena (“O2”)—unless they agree to play the
              11 Staples Center (“Staples”) during the part of their tours that takes place in Los
              12 Angeles. Both the O2 and Staples are owned by AEG.
              13              3.      The O2 is a singular concert venue—the only indoor arena in London
              14 with the capacity to host major concerts. The O2 is a “must have” venue for the top
              15 international touring artists, as witnessed by the steady stream of marquee artists
              16 who play the O2 annually. According to concert industry data analyzed by Pollstar,
              17 50 percent more tickets were sold for shows at the O2 than for any other arena-sized
              18 venue in the world (in 2016). AEG is a clear monopolist in the market for arena-
              19 sized venues in greater London—indeed, through management contracts it also
              20 controls a number of other large concert venues in greater London in addition to the
              21 O2.
              22              4.      Unlike London, however, Los Angeles is a competitive venue market—
              23 or has been since at least January 2014, when the “Forum” reopened in Inglewood
              24 after a $100 million renovation. Artists touring in Los Angeles have therefore been
              25 able to enjoy the benefits of competition between Staples and the Forum. Ozzy
              26 would have been such an artist if AEG had not insisted, through the Staples Center
              27 Commitment, that he perform at Staples—the venue that AEG owns.
              28
                                                                                     CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    2                     FOR INJUNCTIVE RELIEF
                                                                                     AND DECLARATORY RELIEF
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                   1        5.    In early 2018, Ozzy’s UK promoter, Live Nation (Music) UK Ltd.
                   2 (“Live Nation UK”), sought to book the O2 for Ozzy’s final world tour, known as
                   3 “No More Tours 2.” Live Nation UK requested a date in February 2019, which AEG
                   4 said was available—but only on the condition that Ozzy be bound by the Staples
                   5 Center Commitment.       Sharon Osbourne, Ozzy’s wife and business manager,
                   6 publicly complained about having to sign the Staples Center Commitment, but AEG
                   7 would not relent.
                   8        6.    In view of the blatant anticompetitive effects of AEG’s demands, as
                   9 detailed below, Ozzy commences this action (on his own behalf and for all similarly
              10 situated artists) to prohibit AEG from enforcing the Staples Center Commitment, an
              11 unlawful tying arrangement that unfairly leverages AEG’s dominance in greater
              12 London to distort and deter competition in greater Los Angeles. The harm to
              13 competition from the Staples Center Commitment is profound, immediate, and
              14 irreparable—and must be enjoined.
              15                                       THE PARTIES
              16                                  Representative Plaintiff
              17            7.    Plaintiff John Michael “Ozzy” Osbourne is an individual and a resident
              18 of the State of California. Ozzy is famous worldwide as a star and artist both in his
              19 own right, and as the lead vocalist of the pioneering heavy metal band Black
              20 Sabbath. Ozzy has sold over 100 million albums and is one of the most recognizable
              21 musicians in the world.
              22            8.    “Plaintiffs,” as used in this Complaint, refers to Ozzy and to the other
              23 plaintiff class members collectively.
              24                                         Defendants
              25            9.    Defendant AEG is a private corporation organized under the laws of the
              26 State of Colorado, and a wholly owned subsidiary of The Anschutz Corporation.
              27 AEG is a live entertainment company, venue operator, concert promoter, and sports
              28 property owner headquartered in Los Angeles.
                                                                                   CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                 3                      FOR INJUNCTIVE RELIEF
                                                                                   AND DECLARATORY RELIEF
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                   1        10.   Defendant AEG Presents LLC (“AEG Presents,” formerly known as
                   2 AEG Live LLC and AEG Concerts LLC) is a limited liability company organized
                   3 under the laws of the State of Delaware. On information and belief, AEG Presents
                   4 is a wholly owned division, subsidiary, or other affiliate of AEG. Headquartered in
                   5 Los Angeles, AEG Presents is the second-largest concert promoter in the world.
                   6        11.   Defendant L.A. Arena Company, LLC (“L.A. Arena Company”) is a
                   7 limited liability company organized under the laws of the State of Delaware and
                   8 headquartered in Los Angeles. On information and belief, L.A. Arena Company is
                   9 a wholly owned division, subsidiary, or other affiliate of AEG.           L.A. Arena
              10 Company is engaged in the business of managing concert and other live
              11 entertainment venues.
              12            12.   Defendant Ansco Arena Ltd. (“Ansco”) is a United Kingdom company
              13 headquartered in London. On information and belief, Ansco is a wholly owned
              14 division, subsidiary, or other affiliate of AEG. Ansco is engaged in the business of
              15 managing concert and other live entertainment venues and is the entity that manages
              16 the O2.
              17            13.   This Complaint refers collectively to AEG, AEG Presents, L.A. Arena
              18 Company, and Ansco as the “AEG Defendants.”
              19            14.   Defendants John Doe 1 through 10 are individuals whose names and
              20 addresses of residence are currently unknown, and who are therefore sued here under
              21 fictitious names pursuant to Local Rule 19-1. Plaintiff will seek leave to amend this
              22 Complaint after the Doe Defendants’ true names have been ascertained.
              23                                  Class Action Allegations
              24            15.   Pursuant to Local Rule 23-2, Plaintiff sets forth his Class Action
              25 Allegations as follows.
              26            16.   Plaintiff brings this action on his own behalf and as a class action under
              27 Rules 23(a) and (b)(2) of the Federal Rules of Civil Procedure, for the following
              28 class:
                                                                                    CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  4                      FOR INJUNCTIVE RELIEF
                                                                                    AND DECLARATORY RELIEF
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                   1               All persons required to sign the Staples Center Commitment as a
                   2               condition of renting, booking, or otherwise using the O2.

                   3         17.   The class is so numerous that joinder of all members is impracticable.
                   4 Plaintiff estimates that the O2 hosts over 120 concerts per year, in addition to other
                   5 events. Plaintiff is also informed and believes that most artists who hold concerts at
                   6 the O2 do so in connection with an international tour that includes performances in
                   7 Los Angeles, and that the AEG Defendants require all of those artists to agree to the
                   8 Staples Center Commitment (as described herein, encompassing a general obligation
                   9 to play Staples when in LA, often reflected in a form letter agreement imposed by
              10 the AEG Defendants). As a result, one can presume that many dozens of artists have
              11 been required to sign the Staples Center Commitment.
              12             18.   There are questions of law that are common to the class—in particular,
              13 the questions underlying whether the Staples Center Commitment is lawful, such as
              14 whether it must be evaluated under the “rule of reason” or as a per se antitrust
              15 violation. There are also questions of fact and mixed questions of law and fact that
              16 are common to the class, including:
              17                      a. the definition of the relevant markets;
              18                      b. AEG’s market or monopoly power in London or greater
              19                         London;

              20                      c. the existence of a tying arrangement;
                                      d. the effects of the tying arrangement; and
              21
                                      e. In the event that “rule of reason” analysis applies, the
              22                         business justifications, if any, for the tying arrangement,
              23                         and any less restrictive alternatives for meeting legitimate
                                         business justifications.
              24
              25             19.   The claims or defenses of the representative Plaintiff (Ozzy) are typical
              26 of the claims or defenses of the class. The version of the Staples Center Commitment
              27 presented to Ozzy (through his promoter) is substantively identical to the version
              28 presented to all other class members. The common contention of all Plaintiffs,
                                                                                     CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   5                      FOR INJUNCTIVE RELIEF
                                                                                     AND DECLARATORY RELIEF
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                   1 including absent class members, is that the Staples Center Commitment is an
                   2 unlawful tying arrangement; there is no way for that tying arrangement to be lawful
                   3 to some members of the class, but not others.
                   4        20.   All class members are threatened with the same injuries as a result of
                   5 Defendants’ conduct, even if their monetary damages—not sought in this action—
                   6 may differ marginally. Each (a) loses the benefits of free and open competition
                   7 between Staples and other competing venues such as the Forum; (b) loses any
                   8 additional monetary compensation that would flow to them (through the percentage
                   9 of the profits they are entitled to under promoter agreements and other financial
              10 incentives from venues) in a market with unrestrained competition; and (c) loses the
              11 ability to choose the venues they prefer for artistic or other intangible reasons, even
              12 if the monetary loss is tolerable.
              13            21.   The representative Plaintiff (Ozzy) will adequately and fairly protect
              14 the interests of the class. Ozzy has retained competent counsel who are experienced
              15 in complex antitrust class action litigation, and Ozzy and his counsel intend to
              16 prosecute this action vigorously to vindicate the rights of the entire class. Neither
              17 Ozzy nor his counsel have interests that conflict with the interests of the absent class
              18 members.
              19            22.   A class action under Rule 23(b)(2) is appropriate because in enacting
              20 and enforcing the Staples Center Commitment, AEG has acted on grounds that apply
              21 generally to the class, so that final injunctive relief or corresponding declaratory
              22 relief is appropriate respecting the class as a whole.
              23            23.   Notice to absent class members is not necessarily required in a class
              24 action, such as this one, proceeding under Rule 23(b)(2). However, if the Court
              25 determines that notice should be given, Plaintiff contemplates that absent class
              26 members will be served in a manner deemed appropriate by the Court (see Fed. R.
              27 Civ. P. 23(c)(2)(A)) following the completion of discovery sufficient to identify and
              28 locate the absent class members.
                                                                                  CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                 6                     FOR INJUNCTIVE RELIEF
                                                                                  AND DECLARATORY RELIEF
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                   1                           JURISDICTION AND VENUE
                   2         24.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                   3 because this action arises under the laws of the United States—specifically, under
                   4 Section 1 of the Sherman Act, 15 U.S.C. § 1.
                   5         25.   This Court has personal jurisdiction over all Defendants because the
                   6 AEG Defendants have purposefully directed their conduct with respect to the Staples
                   7 Center Commitment at this forum, Plaintiffs’ claims all arise out of that conduct, and
                   8 the exercise of jurisdiction over the AEG Defendants is reasonable. For example,
                   9 the Staples Center Commitment letter issued by UK-based Defendant Ansco
              10 expressly requires artists to play Staples in Los Angeles, and is to be countersigned
              11 both by Ansco and by Defendant L.A. Arena Company LLC. In addition, all of the
              12 AEG Defendants except Ansco are headquartered in Los Angeles, and thus have
              13 continuous and systematic contacts with this forum that are sufficient to establish
              14 this Court’s general personal jurisdiction.
              15             26.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
              16 because a substantial part of the events giving rise to this Complaint occurred within
              17 this District. In addition, a substantial part of property that is subject to this action
              18 (i.e., Staples) is situated in this District. Id. Venue is also proper in this District
              19 pursuant to 28 U.S.C. § 1391(b)(1) and 1391(c)(2) because all of the AEG
              20 Defendants except Ansco are headquartered in Los Angeles.
              21                FACTUAL BACKGROUND COMMON TO ALL CLAIMS
              22             27.   In January 2018, Ozzy, through his UK promoter Live Nation UK,
              23 informed representatives of AEG that he wished to reserve performance dates at the
              24 O2 arena in London for Ozzy’s upcoming international tour. In industry jargon,
              25 Live Nation UK asked to “pencil in” February 11, 2019. “Penciling in” that date
              26 would reserve it for Ozzy’s performance, pending the completion of a formal venue-
              27 hire agreement. The February 11, 2019 date that Ozzy requested was available.
              28
                                                                                    CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   7                     FOR INJUNCTIVE RELIEF
                                                                                    AND DECLARATORY RELIEF
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                   1        28.   However, per its now standard practice, AEG (through Ansco) then
                   2 transmitted a letter agreement to Ozzy’s promoters imposing the mandatory Staples
                   3 Center Commitment (attached to this Complaint as Exhibit 1). The subject line of
                   4 that letter, dated January 11, 2018, reads: “Staples Center Commitment – Ozzy
                   5 Osbourne at The O2 arena.” That body of the letter stated, among other things:
                   6              Staples Center Commitment
                   7              As we have previously communicated, and to give effect to our
                   8              new booking policy, as a condition of entering the pencils for
                                  the O2 Shows, we require both Live Nation Entertainment, Inc.
                   9              Live Nation (Music) UK Limited (collectively “you” or “Live
              10                  Nation”) to execute this letter agreement for the purpose of
                                  setting forth your irrevocable and binding commitment that, if
              11                  (i) any of the aforementioned The O2 Shows are booked at The
              12                  O2 arena and (ii) Ozzy Osbourne also plays an indoor arena
                                  anywhere within twenty five (25) miles of the City of Los
              13                  Angeles as part of the same tour cycle as the aforementioned The
              14                  O2 Shows and that show/those shows is/are promoted by a Live
                                  Nation Entertainment, Inc. group company, then you shall
              15                  ensure at least one of those Ozzy Osbourne shows in Los
              16                  Angeles shall be held at the Staples Center (the “Staples Center
                                  Commitment”).
              17
                                  The foregoing Staples Center Commitment shall not apply to the
              18                  extent [Ansco] or [L.A. Arena Company] advise you that the
                                  Staples Center is not available on the particular date(s) in
              19
                                  question due to another event, although, in such instance, you
              20                  agree to use your best efforts in keeping with customary industry
                                  practice to work with us to find mutually acceptable dates.
              21
              22 See Exh. 1 at p. 17 (emphasis added).
              23            29.   The letter agreement also contained a clause requiring the resolution of
              24 disputes in “any state or federal court located in Los Angeles, California.”
              25            30.   On information and belief, the letter was a barely modified version of a
              26 form letter that AEG routinely sends to promoters, booking agents, and other artist
              27 representatives, imposing the same Staples Center Commitment as a condition of
              28 booking the O2.
                                                                                   CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                 8                      FOR INJUNCTIVE RELIEF
                                                                                   AND DECLARATORY RELIEF
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                   1       31.   On February 7, 2018, Sharon Osbourne responded by email to Jay
                   2 Marciano, the Chief Operating Officer of AEG, and the Chairman and CEO of AEG
                   3 Presents. Mrs. Osbourne wrote:
                   4             Mr. Marciano,
                   5             I am returning the enclosed Staples Center Commitment
                                 Agreement to you, unsigned.
                   6
                                 Shame on AEG for bringing artists into a power struggle that
                   7             you’re having with your competitor, Live Nation. I can assure
                   8             you that Live Nation would never strong-arm an artist into
                                 playing a venue they’re not comfortable performing in.
                   9
                                 In closing, without the artists there would be no AEG, no Live
              10                 Nation, no promoters, agents or managers. The artists should
              11                 always come first. Never forget that! There’s enough for
                                 everyone without you trying to monopolize the world of
              12                 entertainment.
              13           32.   Mr. Marciano responded on the same day, as follows:
              14                 Dear Sharon,
              15                 Thank you for your note.
              16                 Please understand this dispute is between The Forum and Staples
                                 Center and we couldn’t agree with you more — it should always
              17                 be the artist’s choice. We long for the days when artists and fans
              18                 came first.
              19                 Kindest regards -

              20                 Jay

              21                 PS - The other guys started this first!
              22           33.   Mr. Marciano’s references to the Forum and his statement “The other
              23 guys started this first!” are part of an argument AEG has resorted to, in the context
              24 of this ongoing dispute, that the Staples Center Commitment is a legitimate response
              25 to a similar practice by the Madison Square Garden Company (“MSG”), which owns
              26 the Forum. On information and belief, the premise of AEG’s argument is incorrect:
              27 artists who wish to book Madison Square Garden in New York City are not required
              28 to commit—in a formal written contract, no less—that they will play the Forum if
                                                                                  CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                 9                     FOR INJUNCTIVE RELIEF
                                                                                  AND DECLARATORY RELIEF
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                   1 they tour Los Angeles. Indeed, in response to the exchange of emails between
                   2 Sharon Osbourne and Jay Marciano, Irving Azoff, the Chairman and Chief
                   3 Executive Officer of Azoff MSG Entertainment LLC, was quoted in Amplify as
                   4 saying that Mr. Marciano’s statements were “a pack of lies,” and, “We do not block
                   5 book Madison Square Garden and The Forum.”
                   6        34.    In any event, MSG’s practices, whatever they may be, cannot justify
                   7 the Staples Center Commitment. As a threshold matter, even if it were true that
                   8 MSG were committing some form of wrong here (legal or otherwise)—which it is
                   9 not—that would not absolve the AEG Defendants of liability for the glaring antitrust
              10 violations challenged in this Complaint.
              11            35.    But regardless, the circumstances surrounding MSG’s conduct are
              12 critically different. Madison Square Garden, as important a concert venue as it is,
              13 faces strong competition in New York from (at least) the brand-new Barclays Center
              14 in Brooklyn and the Prudential Center in Newark, New Jersey. The O2 faces no
              15 such competition. An artist wishing to play a large indoor arena in London cannot
              16 avoid the Staples Center Commitment by playing a venue other than the O2 (i.e.,
              17 playing the London equivalent of a Barclays or Prudential Center), since no such
              18 option exists.
              19            36.    As events transpired here, the AEG Defendants did not relent in
              20 response to Sharon Osbourne’s objections, and continued to insist that Ozzy would
              21 not be allowed to perform at London’s O2 arena unless he also agreed to perform at
              22 Staples in Los Angeles.
              23            37.    The AEG Defendants’ insistence on the Staples Center Commitment
              24 left Ozzy with a choice that, realistically, was no choice at all. For a major artist
              25 such as Ozzy, there is simply no substitute for the O2 arena when booking the
              26 London leg of an international tour. Recent data shows that the O2 has the highest
              27 volume of ticket sales (as much as 50 percent higher) out of all arena-sized venues
              28 in the world, making it the single most desirable venue for an artist hoping to
                                                                                   CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                 10                     FOR INJUNCTIVE RELIEF
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                   1 maximize attendance at his or her performance. The O2 thus holds a unique place
                   2 in the global concert and live entertainment industry; certainly, there is no
                   3 comparable venue anywhere near it in the area of greater London—particularly
                   4 during winter months, when outdoor stadiums and festivals are not a realistic
                   5 alternative. The nearest large indoor venue (e.g., indoor venue with over 14,000
                   6 capacity) in England is in Birmingham, over 160 miles away.
                   7        38.   Even if there were realistic alternatives to the O2 in greater London,
                   8 AEG’s dominance and control over the other large performance venues in the area
                   9 is formidable. For example, AEG not only owns and controls the O2 arena, but also
              10 manages The SSE Arena, Wembley. AEG also has the exclusive rights to hold
              11 concerts in Hyde Park and Victoria Park in London. Overall, AEG has significant
              12 market power in and around greater London.
              13            39.   Because it is impossible to book a major international tour in greater
              14 London without dealing with AEG, and/or because AEG has substantial market
              15 power, AEG is able to coerce artists into signing the Staples Center Commitment.
              16 In practical terms, international tours that are significant enough to play the O2 are
              17 likely to have a Los Angeles leg as well. Plaintiff is informed and believes that more
              18 than a dozen artists, facing this pressure, have signed the Staples Center
              19 Commitment. As a result, those artists have lost the benefits of the competitive
              20 market that exists (for now) in Los Angeles: they can no longer bargain for better
              21 terms at the Forum, or for better terms at Staples as a result of unrestrained
              22 negotiations with the Forum. The restriction on the ability of these artists (and other
              23 absent class members) to choose their venue has thus affected a substantial volume
              24 of commerce in Los Angeles—entirely as a consequence of AEG’s strong-arming
              25 and leveraging tactics.
              26            40.   Facing these pressures, Ozzy directed Live Nation UK to sign and
              27 return the Staples Center Commitment, which was done on March 19, 2018. But
              28 because AEG’s conditions restrict his freedom (and the freedom of many other
                                                                                 CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                11                    FOR INJUNCTIVE RELIEF
                                                                                 AND DECLARATORY RELIEF
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                   1 artists) to play at a venue of their choice, and because those conditions serve only to
                   2 enrich AEG while restraining competition, Ozzy brings this Complaint to enjoin,
                   3 nullify, and defeat the Staples Center Commitment on his own behalf and for all
                   4 other similarly situated persons. Practically speaking, this suit is intended to restore
                   5 competition via a prohibitory injunction precluding the AEG Defendants from
                   6 enforcing the flagrantly unlawful contractual term they regularly impose on artists,
                   7 forcing them to take dates at Staples that they either do not want, or would agree to
                   8 only after fully enjoying the fruits of unrestrained competition among venues.
                   9         41.   The harm from the AEG Defendants’ illegal tying practice is not
              10 compensable with money damages. For one thing, it is impossible to catalogue, let
              11 alone value, the myriad benefits that artists and consumers would enjoy by virtue of
              12 competition between Staples and the Forum, which the Staples Center Commitment
              13 thwarts. For another, depriving artists of the choice of which venue to play in the
              14 greater Los Angeles area is an irremediable harm in its own right: delivering the
              15 concert experience that, in the artist’s own calculation, best reflects his or her vision
              16 for fans—in the environment of the artist’s own choosing—is an essential and
              17 integral component of the connection between a musician and his or her most ardent
              18 supporters. This is about identity, freedom, and choice, as much or more than it is
              19 about money.
              20             42.   On information and belief, the AEG Defendants’ unlawful and coercive
              21 conduct with respect to the Staples Center Commitment was aided, abetted,
              22 facilitated, and/or implemented by Defendants John Doe 1 through 10.
              23                                    CLAIMS FOR RELIEF
              24                                     First Claim for Relief
              25                   Violation of Section 1 of the Sherman Act (15 U.S.C. § 1)
              26                                     Against All Defendants
              27             43.   Plaintiff repeats and re-alleges the foregoing paragraphs 1 through 42
              28 above as though fully set forth herein.
                                                                                     CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   12                     FOR INJUNCTIVE RELIEF
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                   1         44.   The AEG Defendants’ imposition of the Staples Center Commitment is
                   2 a per se violation of tying doctrine under Section 1 of the Sherman Act (15 U.S.C.
                   3 § 1).   The Staples Center Commitment ties together two distinct products or
                   4 services—arena-sized venues for musical concerts in (a) London or greater London
                   5 and (b) Los Angeles or greater Los Angeles (perhaps defined by AEG’s own criteria
                   6 of venues within, or within 25 miles of, Los Angeles County)—and the AEG
                   7 Defendants have substantial economic power in the tying product market, which
                   8 allows them to coerce artists into agreeing to the Staples Center Commitment. By
                   9 imposing the Staples Center Commitment on artists, the AEG Defendants have
              10 impacted a substantial volume of commerce in the tied product market.
              11             45.   Because of the AEG Defendants’ overwhelming market power in the
              12 tying product market—the market for the rental of arena-sized venues for musical
              13 concerts or other live performances in London or greater London—and the explicit
              14 nature of the tying arrangement, the Staples Center Commitment is per se unlawful
              15 (as that term is used in connection with tying). It is therefore unnecessary for
              16 Plaintiffs to plead (or prove) injury to competition in the tied product market for the
              17 rental of arena-sized venues for musical concerts in or around greater Los Angeles.
              18             46.   That said, the AEG Defendants’ imposition of the Staples Center
              19 Commitment is also a violation of tying doctrine under the “rule of reason.” The
              20 purpose and intent of the Staples Center Commitment is for AEG to leverage its
              21 dominance of the market for arena-sized venues in greater London to restrain,
              22 exclude, and weaken competition of the market for arena-sized venues in greater Los
              23 Angeles to the detriment of the artists and concert-goers. It has that effect. However
              24 one defines the precise contours of the tied product market, it is undeniable that the
              25 Forum is the closest and most intense competitor to Staples. The two venues are
              26 less than ten miles apart, each has the capacity and other amenities to host major
              27 music concerts, and, since the Forum was refurbished, the two venues have
              28 competed intensely and head-to-head for dozens of major artists. When AEG began
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                   1 losing concerts to the Forum, it first competed for artists’ patronage with better rental
                   2 terms and other financial inducements.         The Staples Center Commitment was
                   3 adopted because competition on the merits was not working to AEG’s satisfaction.
                   4 It was losing too much.
                   5         47.    There is no justification for this conduct, let alone one that can meet the
                   6 exacting standards of tying law. The Staples Center Commitment does not promote
                   7 goodwill or quality control within the tying market, and it does not promote cost
                   8 savings (quite the opposite) or other potentially valuable effects, such as metering or
                   9 risk allocation. Nor can the Staples Center Commitment be justified on some “two
              10 wrongs make a right” theory related to what MSG allegedly has done to offer artists
              11 inducements to play the Forum (i.e., Mr. Marciano’s “The other guys started this
              12 first!” argument). Anticompetitive conduct cannot be justified on the basis that “the
              13 other guys” are also alleged to have engaged in anticompetitive conduct. The Staples
              14 Center Commitment is rank anticompetitive conduct; its purpose and effect is to
              15 injure competition in the tied product market.
              16             48.    The AEG Defendants’ wrongful conduct has caused—and threatens to
              17 continue to cause—injury to Plaintiffs. The Staples Center Commitment prevents
              18 promoters or other artist representatives from negotiating better terms at the
              19 available venues in greater Los Angeles and locks artists into performing at one
              20 venue when they would prefer to perform at another, in addition to the myriad other
              21 harms described herein.           This restraint on promoters and representatives from
              22 negotiating better terms harms artists directly because it is typical in the industry for
              23 the artists to recover a fixed percentage of whatever deal their promoters or
              24 representatives are able to strike.
              25             49.    The AEG Defendants’ wrongful conduct has caused—and threatens to
              26 continue to cause—injury to competition. Indeed, the sole purpose of the Staples
              27 Center Commitment is to coerce artists into playing Staples instead of the Forum.
              28 Further, the Staples Center Commitment creates a barrier to entry for any other
                                                                                       CLASS ACTION COMPLAINT
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                   1 venues (or potential, developing venues) that may wish to compete for large concerts
                   2 or other performances.
                   3        50.    An injunction is necessary to prevent any of the AEG Defendants’
                   4 conduct from causing further harm. AEG continues to impose the Staples Center
                   5 Commitment. The Staples Center Commitment causes an irreparable injury to the
                   6 artists affected by it, who are put to the impossible choice of foregoing the must-
                   7 have venue in the London area, or losing the benefits of competition in the Los
                   8 Angeles area. Monetary damages are inadequate to compensate Plaintiffs for this
                   9 loss—in choice, and in the benefits of competition itself. The balance of hardships
              10 favors the exercise of this Court’s equitable powers in Plaintiffs’ favor, and the
              11 public interest would not be disserved by an injunction, because Defendants’
              12 conduct is unlawful, anticompetitive, and without justification.
              13                                   Second Claim for Relief
              14                            Declaratory Relief (28 U.S.C. § 2201)
              15                                    Against All Defendants
              16            51.    Plaintiff repeats and re-alleges the foregoing paragraphs 1 through 50
              17 above as though fully set forth herein.
              18            52.    An actual controversy exists between Plaintiffs and Defendants
              19 regarding their respective rights and duties in connection with, and the enforceability
              20 of, the Staples Center Commitment. Plaintiffs contend that the Staples Center
              21 Commitment is unlawful and unenforceable; Defendants oppose these contentions.
              22            53.    A judicial declaration is necessary and proper at this time under the
              23 circumstances so that Plaintiffs may ascertain their rights and duties in connection
              24 with the Staples Center Commitment. In the absence of a judicial declaration,
              25 Plaintiffs may have no choice but to comply with an unlawful, unreasonable, and
              26 unenforceable restraint.
              27
              28
                                                                                    CLASS ACTION COMPLAINT
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                   1                          PRAYER FOR RELIEF
                   2   WHEREFOR, Plaintiffs pray for judgment against all Defendants as follows:
                   3   1.    For an injunction enjoining and restraining the AEG Defendants, and
                   4         those acting in concert with them or at their direction, from imposing
                   5         or enforcing the Staples Center Commitment (or any other policy that
                   6         conditions the use of the O2 on the agreement also to use Staples) on
                   7         any artist, musician, performer, and/or their agents or promoters,
                   8         directly or indirectly.
                   9   2.    For a judicial determination by this Court that the Staples Center
              10             Commitment is contrary to the antitrust laws of the United States, and
              11             that the portion of the agreement between Plaintiffs and the AEG
              12             Defendants that conditions the use of the O2 on the use of Staples is,
              13             accordingly, unenforceable;
              14       3.    For reasonable attorney’s fees (see 15 U.S.C. § 15(a)) and costs of suit
              15             incurred herein;
              16       4.    For any and all other relief as this Court may deem proper and just.
              17 Dated: March 21, 2018
              18                                           LATHAM & WATKINS LLP
                                                             Daniel M. Wall
              19                                             Timothy L. O’Mara
                                                             Andrew M. Gass
              20
              21
                                                           By /s/ Daniel M. Wall
              22                                             Daniel M. Wall
                                                             Attorneys for Plaintiff
              23                                             Ozzy Osbourne
              24
              25
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                                                                              CLASS ACTION COMPLAINT
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 SAN FRANCISCO                                             16                    FOR INJUNCTIVE RELIEF
                                                                              AND DECLARATORY RELIEF
